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                                          UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF INDIANA
                                                FORT WAYNE DIVISION

In re:                                                                 §      Case No. 3:18-BK-11219-REG
                                                                       §
TYLYNN WALTERS MOORE                                                   §
                                                                       §
                                                                       §
                            Debtor                                     §

                                               TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 7 of the United States Bankruptcy Code was filed on 06/29/2018. The
        undersigned trustee was appointed on 06/29/2018.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                            $46,501.00

                          Funds were disbursed in the following amounts:

                          Payments made under an interim distribution                                                                   $0.00
                          Administrative expenses                                                                                   $4,854.39
                          Bank service fees                                                                                             $0.00
                          Other Payments to creditors                                                                              $34,146.61
                          Non-estate funds paid to 3rd Parties                                                                          $0.00
                          Exemptions paid to the debtor                                                                                 $0.00
                          Other payments to the debtor                                                                                  $0.00

                          Leaving a balance on hand of1                                                                              $7,500.00

           The remaining funds are available for distribution.

     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.


1
  The balance on funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed
pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth
under 11 U.S.C. § 326(a) on account of the disbursement of the additional interest.

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     6. The deadline for filing non-governmental claims in this case was 11/15/2018 and the deadline
        for filing government claims was 12/26/2018. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
        $5,400.10. To the extent that additional interest is earned before case closing, the maximum
        compensation may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of $5,400.10,
for a total compensation of $5,400.102. In addition, the trustee received reimbursement for reasonable
and necessary expenses in the amount of $0.00, and now requests reimbursement for expenses of
$337.96, for total expenses of $337.96.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 04/17/2019                                                         By:       /s/ Yvette Gaff Kleven
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

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                                                                             FORM 1
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                        Exhibit A
                                                                ASSET CASES
Case No.:                    18-11219-REG                                                            Trustee Name:                             Yvette Gaff Kleven
Case Name:                   MOORE, TYLYNN WALTERS                                                   Date Filed (f) or Converted (c):          06/29/2018 (f)
For the Period Ending:       4/17/2019                                                               §341(a) Meeting Date:                     07/31/2018
                                                                                                     Claims Bar Date:                          11/15/2018

                         1                                   2                      3                         4                         5                       6

                 Asset Description                     Petition/            Estimated Net Value            Property               Sales/Funds            Asset Fully
                  (Scheduled and                     Unscheduled           (Value Determined by            Abandoned             Received by the      Administered (FA) /
             Unscheduled (u) Property)                  Value                     Trustee,           OA =§ 554(a) abandon.           Estate             Gross Value of
                                                                          Less Liens, Exemptions,                                                      Remaining Assets
                                                                             and Other Costs)

 Ref. #
1       932 E PAULDING RD, Fort                         $75,000.00                           $0.00                                      $46,501.00                     FA
        Wayne, IN 46816-0000, Al
Asset Notes:    App to Sell Property approved by Order dated 9-26-18
                Imported from original petition Doc# 1; selling with carve out
2       2015 HYUNDAI ACCENT,                            $5,872.00                            $0.00                                           $0.00                     FA
        53,642 miles. Entire proper
Asset Notes:       Imported from original petition Doc# 1
3      2007 KIA SEDONA, 168,234                          $1,608.00                           $0.00                                           $0.00                     FA
       miles. Entire property
Asset Notes:       Imported from original petition Doc# 1
4      DEBTOR LIVES IN                                            $0.00                      $0.00                                           $0.00                     FA
       FURNISHED MOBILE
       HOME - OWNS NO
Asset Notes:   Imported from original petition Doc# 1
5       TV, CELL PHONES                                      $200.00                         $0.00                                           $0.00                     FA
Asset Notes:        Imported from original petition Doc# 1
6       CD'S, DVD'S, PICTURES                                $300.00                         $0.00                                           $0.00                     FA
Asset Notes:        Imported from original petition Doc# 1
7       CLOTHES                                              $600.00                         $0.00                                           $0.00                     FA
Asset Notes:        Imported from original petition Doc# 1
8      2 CATS - PETS - NO VALUE                                   $0.00                      $0.00                                           $0.00                     FA
       TO OTHERS
Asset Notes:     Imported from original petition Doc# 1
9       Cash                                                     $10.00                      $0.00                                           $0.00                     FA
Asset Notes:        Imported from original petition Doc# 1
10     CHECKING AND SAVINGS:                                 $344.00                     $1,656.00                                           $0.00                     FA
       FIFTH THIRD BANK
Asset Notes:   Imported from original petition Doc# 1
11     401K: THRU EMPLOYER - D                        $1,476.00                              $0.00                                           $0.00                     FA
       & W FINE PACK
Asset Notes:    Imported from original petition Doc# 1
12     DEBTOR EXPECTS                                 Unknown                                $0.00                                           $0.00                     FA
       EARNED INCOME CREDIT
       FOR 2018 TAX
Asset Notes:    Imported from original petition Doc# 1
13     LAINIE MOORE -                                 $2,000.00                              $0.00                                           $0.00                     FA
       DEBTOR'S OLDER
       DAUGHTER STOLE MON
Asset Notes:   Imported from original petition Doc# 1
14     KANSAS LIFE - UNIVERSAL                         $1,900.00                             $0.00                                           $0.00                     FA
       LIFE INSURANCE -
       APPROXI
Asset Notes:   Imported from original petition Doc# 1; objected to exemption
                                      Case 18-11219-reg                    Doc 49 Filed 05/24/19                        Page 4 of 12                  Page No:     2
                                                                             FORM 1
                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                          Exhibit A
                                                                 ASSET CASES
Case No.:                    18-11219-REG                                                               Trustee Name:                             Yvette Gaff Kleven
Case Name:                   MOORE, TYLYNN WALTERS                                                      Date Filed (f) or Converted (c):          06/29/2018 (f)
For the Period Ending:       4/17/2019                                                                  §341(a) Meeting Date:                     07/31/2018
                                                                                                        Claims Bar Date:                          11/15/2018

                         1                                  2                        3                              4                      5                       6

                 Asset Description                      Petition/          Estimated Net Value                Property               Sales/Funds            Asset Fully
                  (Scheduled and                      Unscheduled         (Value Determined by                Abandoned             Received by the      Administered (FA) /
             Unscheduled (u) Property)                   Value                   Trustee,               OA =§ 554(a) abandon.           Estate             Gross Value of
                                                                         Less Liens, Exemptions,                                                          Remaining Assets
                                                                            and Other Costs)

TOTALS (Excluding unknown value)                                                                                                             Gross Value of Remaining Assets
                                                         $89,310.00                       $1,656.00                                        $46,501.00                 $0.00




    Major Activities affecting case closing:
      TFR to UST; once filed with the Court, notice out the same. 4/25/2019 dlehner
      Waiting on Orders for TT and Atty Comp; once received, prep TFR. 3-19-19
      ready for fee apps and TFR; 3/14/19
      send 2nd notice to file claims; 12/20/18
      selling real estate; 10/27/18
      need bank statement; selling real estate; 9/9/18
      investigating cash value life insurance; need bank statement ; need accounting; selling real estate; 8/1/18


Initial Projected Date Of Final Report (TFR):             12/12/2019                                                      /s/ YVETTE GAFF KLEVEN
Current Projected Date Of Final Report (TFR):             12/12/2019                                                      YVETTE GAFF KLEVEN
                                                                Case 18-11219-reg             Doc FORM
                                                                                                  49 Filed
                                                                                                        2 05/24/19                     Page 5 of 12                           Page No: 1               Exhibit B
                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          18-11219-REG                                                                                              Trustee Name:                           Yvette Gaff Kleven
 Case Name:                        MOORE, TYLYNN WALTERS                                                                                     Bank Name:                              Green Bank
Primary Taxpayer ID #:             **-***6853                                                                                                Checking Acct #:                        ******1901
Co-Debtor Taxpayer ID #:                                                                                                                     Account Title:
For Period Beginning:              6/29/2018                                                                                                 Blanket bond (per case limit):          $42,291,316.00
For Period Ending:                 4/17/2019                                                                                                 Separate bond (if applicable):

       1                2                                  3                                                  4                                                    5                       6                  7

   Transaction       Check /                           Paid to/                    Description of Transaction                                 Uniform           Deposit            Disbursement             Balance
      Date            Ref. #                        Received From                                                                            Tran Code            $                     $


12/20/2018                     Metropolitan Title of Indiana, LLC of Fort   Proceeds of Sale of Real Estate                                      *               $7,500.00                                        $7,500.00
                               Wayne
                      {1}                                                                                                     $46,501.00     1110-000                                                           $7,500.00
                                                                            County Taxes                                        $(404.35)    2820-000                                                           $7,500.00
                                                                            Closing Costs                                       $(630.00)    2500-000                                                           $7,500.00
                                                                            Realtors Commission                                $(1,320.04)   3510-000                                                           $7,500.00
                                                                                                                              $(34,009.61)   4110-000                                                           $7,500.00
                                                                            Neighborhood Code Violation                         $(137.00)    4120-000                                                           $7,500.00
                                                                            Buyer's Premium to Auction.com                     $(2,500.00)   2500-000                                                           $7,500.00

                                                                                              TOTALS:                                                            $7,500.00                     $0.00            $7,500.00
                                                                                                  Less: Bank transfers/CDs                                           $0.00                     $0.00
                                                                                              Subtotal                                                           $7,500.00                     $0.00
                                                                                                  Less: Payments to debtors                                          $0.00                     $0.00
                                                                                              Net                                                                $7,500.00                     $0.00



                     For the period of 6/29/2018 to 4/17/2019                                                           For the entire history of the account between 08/20/2018 to 4/17/2019

                     Total Compensable Receipts:                            $46,501.00                                  Total Compensable Receipts:                                    $46,501.00
                     Total Non-Compensable Receipts:                             $0.00                                  Total Non-Compensable Receipts:                                     $0.00
                     Total Comp/Non Comp Receipts:                          $46,501.00                                  Total Comp/Non Comp Receipts:                                  $46,501.00
                     Total Internal/Transfer Receipts:                           $0.00                                  Total Internal/Transfer Receipts:                                   $0.00


                     Total Compensable Disbursements:                       $39,001.00                                  Total Compensable Disbursements:                               $39,001.00
                     Total Non-Compensable Disbursements:                        $0.00                                  Total Non-Compensable Disbursements:                                $0.00
                     Total Comp/Non Comp Disbursements:                     $39,001.00                                  Total Comp/Non Comp Disbursements:                             $39,001.00
                     Total Internal/Transfer Disbursements:                      $0.00                                  Total Internal/Transfer Disbursements:                              $0.00
                                                                Case 18-11219-reg       Doc FORM
                                                                                            49 Filed
                                                                                                  2 05/24/19            Page 6 of 12                            Page No: 2               Exhibit B
                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         18-11219-REG                                                                                  Trustee Name:                           Yvette Gaff Kleven
Case Name:                       MOORE, TYLYNN WALTERS                                                                         Bank Name:                              Green Bank
Primary Taxpayer ID #:           **-***6853                                                                                    Checking Acct #:                        ******1901
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:
For Period Beginning:            6/29/2018                                                                                     Blanket bond (per case limit):          $42,291,316.00
For Period Ending:               4/17/2019                                                                                     Separate bond (if applicable):

      1                 2                                3                                             4                                             5                       6                  7

  Transaction        Check /                         Paid to/                  Description of Transaction                       Uniform           Deposit            Disbursement             Balance
     Date             Ref. #                      Received From                                                                Tran Code            $                     $




                                                                                                                                                                                  NET           ACCOUNT
                                                                                         TOTAL - ALL ACCOUNTS                           NET DEPOSITS                         DISBURSE          BALANCES

                                                                                                                                                  $7,500.00                      $0.00            $7,500.00




                     For the period of 6/29/2018 to 4/17/2019                                               For the entire history of the case between 06/29/2018 to 4/17/2019

                     Total Compensable Receipts:                          $46,501.00                        Total Compensable Receipts:                                  $46,501.00
                     Total Non-Compensable Receipts:                           $0.00                        Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                        $46,501.00                        Total Comp/Non Comp Receipts:                                $46,501.00
                     Total Internal/Transfer Receipts:                         $0.00                        Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                     $39,001.00                        Total Compensable Disbursements:                             $39,001.00
                     Total Non-Compensable Disbursements:                      $0.00                        Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                   $39,001.00                        Total Comp/Non Comp Disbursements:                           $39,001.00
                     Total Internal/Transfer Disbursements:                    $0.00                        Total Internal/Transfer Disbursements:                            $0.00




                                                                                                                            /s/ YVETTE GAFF KLEVEN
                                                                                                                            YVETTE GAFF KLEVEN
                                                          Case 18-11219-reg CLAIM
                                                                              DocANALYSIS
                                                                                  49 Filed  05/24/19
                                                                                          REPORT
                                                                                                                       Page 7 of 12               Page No: 1              Exhibit C


  Case No.                      18-11219-REG                                                                                   Trustee Name:              Yvette Gaff Kleven
  Case Name:                    MOORE, TYLYNN WALTERS                                                                          Date:                      4/17/2019
  Claims Bar Date:              11/15/2018

 Claim               Creditor Name       Claim           Claim Class         Claim    Uniform     Scheduled    Claim        Amount        Amount           Interest        Tax            Net
  No.:                                    Date                              Status    Tran Code   Amount       Amount       Allowed        Paid                                        Remaining
                                                                                                                                                                                        Balance

          YVETTE GAFF KLEVEN           08/13/2018   Trustee                 Allowed   2100-000         $0.00    $5,400.10    $5,400.10         $0.00            $0.00          $0.00    $5,400.10
                                                    Compensation
         111 W. Wayne Street
         Fort Wayne IN 46802
Claim Notes: Approved: 4-11-2019
          CLERK, UNITED                09/04/2018   Clerk of the Court      Allowed   2700-000         $0.00     $181.00      $181.00          $0.00            $0.00          $0.00      $181.00
          STATES BANKRUPTCY                         Costs (includes
          COURT                                     adversary and other
                                                    filing fees)
         1300 S. Harrison Street
         Fort Wayne IN 46802
Claim Notes: Order approving payment dated 8/31/2018
          YVETTE GAFF KLEVEN           01/31/2019   Trustee Expenses        Allowed   2200-000         $0.00     $337.96      $337.96          $0.00            $0.00          $0.00      $337.96
         111 W. Wayne Street
         Fort Wayne IN 46802
Claim Notes: Approved: 4-11-2019
        ADELSPERGER &                  03/18/2019   Attorney for Trustee    Allowed   3110-000         $0.00      $82.50       $82.50          $0.00            $0.00          $0.00       $82.50
        KLEVEN, LLP                                 Fees (Trustee Firm)
         111 West Wayne Street
         Fort Wayne IN 46802
Claim Notes: Approved: 3-20-19
      1   PYOD, LLC ITS                09/27/2018   General Unsecured §     Allowed   7100-000         $0.00    $1,138.54    $1,138.54         $0.00            $0.00          $0.00    $1,138.54
          SUCCESSORS AND                            726(a)(2)
          ASSIGNS AS ASSIGNEE
           of Citibank, N.A.
           Resurgent Capital Services
           PO Box 19008
           Greenville SC 29602
      2   FEDERAL HOME LOAN            03/04/2019   Tardy General           Allowed   7200-000         $0.00   $33,409.37   $33,409.37         $0.00            $0.00          $0.00   $33,409.37
          MORTGAGE                                  Unsecured § 726(a)(3)
          CORPORATION
           Brad Geisen
           1095 Broken Sound Parkway NW
           #100
           Boca Raton FL 33487
                                                              Case 18-11219-reg CLAIM
                                                                                  DocANALYSIS
                                                                                      49 Filed  05/24/19
                                                                                              REPORT
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  Case No.                      18-11219-REG                                                                                      Trustee Name:              Yvette Gaff Kleven
  Case Name:                    MOORE, TYLYNN WALTERS                                                                             Date:                      4/17/2019
  Claims Bar Date:              11/15/2018

 Claim               Creditor Name          Claim            Claim Class        Claim    Uniform     Scheduled    Claim        Amount        Amount           Interest        Tax            Net
  No.:                                      Date                               Status    Tran Code   Amount       Amount       Allowed        Paid                                        Remaining
                                                                                                                                                                                           Balance

     3   MR. COOPER                      03/18/2019     Real Estate-           Allowed   4110-000         $0.00   $34,009.61   $34,009.61    $34,009.61            $0.00          $0.00        $0.00
                                                        -Consensual Liens
                                                        (mortgages, deeds of
                                                        trust, PMSI)
Claim Notes:   Paid pursuant to the Court's Order of September 26, 2018.
                                                                                                                  $74,559.08   $74,559.08    $34,009.61            $0.00          $0.00   $40,549.47
                                                              Case 18-11219-reg CLAIM
                                                                                  DocANALYSIS
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                                                                                                             Page 9 of 12                        Page No: 3              Exhibit C


Case No.                      18-11219-REG                                                                                   Trustee Name:               Yvette Gaff Kleven
Case Name:                    MOORE, TYLYNN WALTERS                                                                          Date:                       4/17/2019
Claims Bar Date:              11/15/2018


      CLAIM CLASS SUMMARY TOTALS

                                            Claim Class                            Claim        Amount       Amount                   Interest                Tax                Net
                                                                                  Amount        Allowed       Paid                                                            Remaining
                                                                                                                                                                               Balance


           Attorney for Trustee Fees (Trustee Firm)                                   $82.50        $82.50           $0.00                   $0.00               $0.00                 $82.50

           Clerk of the Court Costs (includes adversary and other filing fees)       $181.00       $181.00           $0.00                   $0.00               $0.00               $181.00

           General Unsecured § 726(a)(2)                                            $1,138.54    $1,138.54           $0.00                   $0.00               $0.00           $1,138.54

           Real Estate--Consensual Liens (mortgages, deeds of trust, PMSI)         $34,009.61   $34,009.61    $34,009.61                     $0.00               $0.00                  $0.00

           Tardy General Unsecured § 726(a)(3)                                     $33,409.37   $33,409.37           $0.00                   $0.00               $0.00          $33,409.37

           Trustee Compensation                                                     $5,400.10    $5,400.10           $0.00                   $0.00               $0.00           $5,400.10

           Trustee Expenses                                                          $337.96       $337.96           $0.00                   $0.00               $0.00               $337.96
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                                                                                                 Exhibit D
                                TRUSTEE’S PROPOSED DISTRIBUTION

Case No.:           3:18-BK-11219-REG
Case Name:          TYLYNN WALTERS MOORE
Trustee Name:       Yvette Gaff Kleven

                                                                Balance on hand:                      $7,500.00


         Claims of secured creditors will be paid as follows:

Claim No. Claimant                      Claim Asserted           Allowed          Interim              Proposed
                                                                Amount of      Payments to              Amount
                                                                   Claim             Date
           3 Mr. Cooper                      $34,009.61         $34,009.61          $34,009.61                $0.00


                                           Total to be paid to secured creditors:                         $0.00
                                                            Remaining balance:                        $7,500.00

         Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                    Total         Interim              Proposed
                                                                Requested      Payments to             Payment
                                                                                     Date
Yvette Gaff Kleven, Trustee Fees                                 $5,400.10              $0.00          $5,400.10
Yvette Gaff Kleven, Trustee Expenses                              $337.96               $0.00            $337.96
Adelsperger & Kleven, LLP, Attorney for Trustee                     $82.50              $0.00                $82.50
Fees
Clerk, United States Bankruptcy Court, Clerk of the               $181.00               $0.00            $181.00
Court Costs


                          Total to be paid for chapter 7 administrative expenses:                     $6,001.56
                                                             Remaining balance:                       $1,498.44

         Applications for prior chapter fees and administrative expenses have been filed as follows:
NONE



                       Total to be paid to prior chapter administrative expenses:                         $0.00
                                                             Remaining balance:                       $1,498.44

         In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.



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         Allowed priority claims are: NONE



                                                 Total to be paid to priority claims:                 $0.00
                                                                Remaining balance:                $1,498.44

        The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

        Timely claims of general (unsecured) creditors totaling $1,138.54 have been allowed and will be
paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim No. Claimant                                             Allowed Amt.           Interim      Proposed
                                                                    of Claim       Payments to      Amount
                                                                                         Date
           1 PYOD, LLC its successors and assigns                   $1,138.54            $0.00     $1,138.54
             as assignee


                                Total to be paid to timely general unsecured claims:              $1,138.54
                                                                Remaining balance:                  $359.90

         Tardily filed claims of general (unsecured) creditors totaling $33,409.37 have been allowed and
will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
claims have been paid in full. The tardily filed claim dividend is anticipated to be 1.1 percent, plus
interest (if applicable).

         Tardily filed general (unsecured) claims are as follows:

Claim No. Claimant                                             Allowed Amt.           Interim      Proposed
                                                                    of Claim       Payments to      Amount
                                                                                         Date
           2 Federal Home Loan Mortgage                           $33,409.37             $0.00       $359.90
             Corporation


                       Total to be paid to tardily filed general unsecured claims:                  $359.90
                                                              Remaining balance:                      $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).




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        Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows: NONE



                                    Total to be paid for subordinated claims:                      $0.00
                                                          Remaining balance:                       $0.00




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